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          EXHIBIT 21
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                     Subject: Re: Latest SI Forecast Assumptions and P&L
                       From: Kevan Parekh <                      >
                Received(Date): Sun, 18 Nov 2018 13:40:16 -0600
                          Cc: Jeff Williams <                     >, Luca Maestri
                                <                  >,                  ,                        ,
                                                 ,Andy Allen <                      >, Mark Anderson
                                <                          >
                          To: Tim Cook <                    >
                 Attachment: WW iPhone Top Models and Countries.pdf
                 Attachment: PastedGraphic-34.png
                 Attachment: PastedGraphic-35.png
                 Attachment: PastedGraphic-36.png
                        Date: Sun, 18 Nov 2018 13:40:16 -0600

               Hi Tim,

               Per your request:

               > A simple two line graph showing the “top” by week (actual and forecast) compared to
               last year. I’ve been doing this manually. >
               > -A simple chart showing the YoY weekly absolute CHANGE in the top for the top 10
               countries (counting GC as one country) along with the percentage change.

               Please find a pdf with clippings pasted below with the views you requested. Please let
               us know if these are in line with your expectations - note we have included X as part of
               this year’s hero performance. For the hero run-chart compare, we also included a direct
               view which is interesting since you can see the large headwind from the back order
               clearing in W8-W10 last year. For the chart with the top 10 countries (pan geo basis) we
               have added both the absolute Y/Y and % Y/Y compares for your convenience.

               The charts include W7 actuals. The good news is that we beat the forecast by +104K
               Pan-Geo last week (+69 on the hero) driven by very strong results from the new US
               BOGOs that turned on between Thu-Sat. On XR alone WoW UBs were +21% Thu-Sat
               vs +3% Sun-Wed. This was partially offset by softer post 11.11 UB run-rates in GC.

               Please let us know if you have any questions or want any additional information / views.

               Kevan

               > On Nov 17, 2018, at 3:22 PM, Tim Cook <                     > wrote:
               >
               > Thanks.
               >
               > I spent some additional time this morning going through the P&L we discussed last




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               night along with today’s reports and have a few additional questions and comments:
               >
               > 1) The “current” revenue forecast for accessories ex watch didn’t change from last
               week despite adding iPhone cases as well as the Smart Keyboards and Pencils this
               week. Additional there is only a very small ($16M) upside potential in the more
               aggressive case.
               >
               > 2) The “current” revenue forecast for the Watch increased by only $50M on over 200K
               units—-an ASP of $239. I thought we added a mix of S/4 and S/3. If so, this is a very
               low ASP. Additionally, there is no upside potential in the more aggressive case.
               >
               > 3) The Mac “current” revenue forecast is down $263M and units are down 145K from
               last week—-and ASP of $1841. This seem very high for a blend of MacBook Airs and
               MBP 13” with TB.
               >
               > 4) The iPad “current” revenue forecast is up $229M on 433K units—-an ASP of $529.
               This seems more reasonable but we should look at this to make sure we are optimizing
               constrained supply mix and we should also confirm the revenue forecast in the more
               aggressive case is correct. It doesn’t appear to be in sync with the opportunities we
               discussed.
               >
               > Of course, the largest opportunity is in iPhone provided we can get even a small lift
               from some or all of the action that are underway. I noticed the US did lift with the
               beginning of the BOGO campaigns yesterday and marketing actions should kick in
               soon. I also hope we see an uptick in Japan given the work there.
               >
               > In reviewing the un-brick report, I noticed our QTD YoY reduction in the top end of the
               line (X, XS, XS Max, and R compared to X, 8, 8 Plus) is 1.8M units and is entirely split
               between US (1.2M) and Japan (.6). Online represents about 40% of the US reduction
               which I assume largely represents iPhone X pre-orders taken in the year ago quarter. If
               true, this drag shouldn’t continue after we exit the specific window. Of course some
               level of pre-orders also occurred in the carriers last year for iPhone X and my
               recollection is that the US and Japanese carriers are generally the best at pre-orders
               although neither is great. I suspect the lack of carrier pre-orders in Q1 this year explains
               some of the remainder of the reduction and along with the regulatory change in Japan
               explain the vast majority of the current delta.
               >
               > The future run rates for the top are much more important. On a trailing 7 day basis,
               we are un-bricking 2.94 per week although yesterday hopefully suggests this will
               improve.
               >
               > I could use a few things to help me monitor our progress:
               >
               > -A simple two line graph showing the “top” by week (actual and forecast) compared to
               last year. I’ve been doing this manually.
               >
               > -A simple chart showing the YoY weekly absolute CHANGE in the top for the top 10




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               countries (counting GC as one country) along with the percentage change.
               >
               > -A chart showing constrained supply opportunity by week for the remainder of the
               quarter along with the dollarization. We need $500M.
               >
               > -A chart showing the current Amazon contribution to the revenue forecast, the
               opportunity and the current difference. This should be updated weekly. >
               > -A week over week revenue forecast bridge for the product categories.
               >
               > -An updated P&L showing any changes resulting from the questions at the top or the
               fine tuning process we discussed last night.
               >
               > Kevin, I’d also like to continue to receive the customer data.
               >
               > I think much of this info already exists. To the degree it does, please send. If it
               doesn’t, I’m not asking anyone to do this during the break.
               >
               > I hope everyone has a fantastic break.
               >
               > Tim
               >
               >
               >
               >
               >
               > Sent from my iPad Pro
               >
               > Begin forwarded message:
               >
               >> From: Kevan Parekh <                           >
               >> Date: November 16, 2018 at 6:14:10 PM PST
               >> To: Tim Cook <                       >
               >> Cc: Jeff Williams <                        >, Luca Maestri <                     >, Saori
               Casey <                        >, Donal Conroy <                           >, Ed Tharp
               <                      >, Andy Allen <                        >
               >> Subject: Latest SI Forecast Assumptions and P&L
               >> Hi Tim,
               >> >> As we just discussed, we wanted to send a revised SI range that better reflects
               some of the approved actions and converges to a more common set of assumptions.
               Accordingly, our new range with details below for SI is 66.9M (new likely) - 68.3M (more
               aggressive case) - this compares to the 66.1M P&L - 67.3M Sales High you saw earlier.
               We’ve provided a sell-in bridge and P&L summary below.
               >>
               >> Saori, Donal and Kevan
               >>
               >> The key adjustments we made are as follows:
               >>




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               >> Starting from the Prior Sales High Case:
               >>
               >> 67.3M
               >> + 0.3M iPhone X (US cracked screen deal)
               >> + 0.4M Japan (XR Docomo / KDDI DG proposal)
               >> + 0.3M China (Additional ~2 weeks of XR sell-in to get to approximately 6 weeks of
               supply)
               >> 68.3M (More Aggressive Case); As discussed this does not include any run-rate
               impact that could deviate from the normal curve assumptions due to marketing and other
               actions (we’ll continue to monitor for that)
               >>
               >> Then for the likely case, we de-risked for the following:
               >>
               >> 68.3M
               >> - 0.3M iPhone X US (as deal has not been negotiated with partners) >> - 0.8M
               iPhone 6s (Lower confidence deals: US tax season pull-ahead, W. Europe 1st half MOQ
               pull ahead and ANZ aggressive pricing)
               >> - 0.3M iPhone 6s+ / 7+ (Aggressive pricing in GC)
               >> 66.9M>>
               >> Below is the SI summary Chart:
               > <Messages Image(3884319372).jpeg>
               >>
               >> Here are the updated set of P&L scenarios:
               >>
               >> Column N: More Aggressive Case
               >> - 68.3M iPhone
               >> - EOH +6.2M
               >>
               >> Column J: Current Likely
               >> - 66.9M iPhone
               >> - EOH +5.0M
               >>
               >> With respect to the EOH, please keep in mind that this includes Germany mitigation
               (0.5M) and iPhone X last-time buys (1.2M - 1.5M)
               > <PastedGraphic-17.pdf>
               >>
               >>
               >>
               >>
               >> � Kevan Parekh | Apple Inc. | office:                        | iPhone:
                      |
               >>




               Hi Tim,




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               Per your request:

               A simple two line graph showing the “top” by week (actual and forecast) compared to last year.
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               2) The “current” revenue forecast for the Watch increased by only $50M on over 200K units—-
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                Additionally, there is no upside potential in the more aggressive case.




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               week—-and ASP of $1841. This seem very high for a blend of MacBook Airs and MBP 13”
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               Tim

               Sent from my iPad Pro

               Begin forwarded message:

                From: Kevan Parekh <                     >
                Date: November 16, 2018 at 6:14:10 PM PST
                To: Tim Cook <                   >
                Cc: Jeff Williams <                   >, Luca Maestri <                           >, Saori Casey
                <                   >, Donal Conroy <                               >, Ed Tharp
                <                   >, Andy Allen <                    >
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                - 0.3M iPhone 6s+ / 7+ (Aggressive pricing in GC)
                66.9M

                Below is the SI summary Chart:


               <Messages Image(3884319372).jpeg>

                Here are the updated set of P&L scenarios:

                Column N: More Aggressive Case
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               <PastedGraphic-17.pdf>

               � Kevan Parekh | Apple Inc. | office:         | iPhone:           |




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